   18-50751-KMS Dkt 34 Filed 07/24/18 Entered 07/24/18 10:23:39 Page 1 of 2



__________________________________________________________________
                                               SO ORDERED,



                                              Judge Katharine M. Samson
                                              United States Bankruptcy Judge
                                              Date Signed: July 24, 2018

             The Order of the Court is set forth below. The docket reflects the date entered.
__________________________________________________________________
                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

IN RE: STEVEN K. MINER                                                   CASE NO. 18-50751-KMS
DEBTOR                                                                              CHAPTER 7

      AGREED ORDER ON TRUSTMARK NATIONAL BANK’S OBJECTION TO
     EXEMPTIONS AND, ALTERNATIVELY, MOTION FOR EXTENSION OF TIME
                       TO OBJECT TO EXEMPTIONS

       THIS MATTER is before the Court on Trustmark National Bank’s Objection to

Exemptions and, Alternatively, Motion for Extension of Time to Object to Exemptions (Dkt. # 31,

the “Motion”) filed by Trustmark National Bank (“Trustmark”). The Court, having considered

the Motion and the record herein, and being advised that Trustmark and Steven K. Miner (the

“Debtor”) agree to the relief set forth herein, finds that the relief set forth in this Agreed Order

should be granted.

       IT IS THEREFORE ORDERED AND ADJUDGED that the deadline for objecting to

the Debtor’s claimed exemptions shall be, and it hereby is, extended through and including the

later of: (a) the date that is 30 days after either the entry of an Order denying the Debtor’s

Motion to Convert Chapter 7 to Chapter 11 (Dkt. # 28, the “Motion to Convert”) or the

withdrawal of the Motion to Convert; or (b) the date of any new deadline that may arise under

Sections 348(a) and 341(a) of the Bankruptcy Code and Fed. R. Bankr. P. 4003(b) in the event the
   18-50751-KMS Dkt 34 Filed 07/24/18 Entered 07/24/18 10:23:39 Page 2 of 2




above-captioned bankruptcy case is converted to a proceeding under Chapter 11 of the

Bankruptcy Code.

       IT IS FURTHER ORDERED AND ADJUDGED that this Agreed Order is entered

without prejudice to (a) any objections to claimed exemptions Trustmark may hereafter timely

raise, whether or not such objections were previously raised in the Motion; or (b) any defenses

or responses the Debtor may timely assert in support of claimed exemptions.

                                    ##END OF ORDER##




AGREED TO AND APPROVED FOR ENTRY BY:

/s/ Christopher H. Meredith                          /s/ Patrick Sheehan
William H. Leech, MSB No. 1175                       Patrick Sheehan, MSB No. 6747
Sarah Beth Wilson, MSB No. 103650                    Sheehan Law Firm
Christopher H. Meredith, MSB No. 103656              429 Porter Ave.
Shauncey G. Hunter, MSB No. 109185                   Ocean Springs, MS 39564
Michael D. Anderson, MSB No. 105523                  Telephone: (228) 875-0572
Copeland, Cook, Taylor & Bush, P.A.                  pat@sheehanlawfirm.com
600 Concourse, Suite 100                             Counsel for the Debtor
1076 Highland Colony Parkway (Zip—39157)
P.O. Box 6020
Ridgeland, MS 39158
Telephone: (601) 856-7200
Facsimile: (601) 856-7626
bleech@cctb.com
sbwilson@cctb.com
cmeredith@cctb.com
shunter@cctb.com
manderson@cctb.com
Counsel for Trustmark




                                               2
